         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2024-0423
                 LT Case No. 2023-CF-003438-A
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TIMOTHY F. BYRNE,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Marion County.
Peter M. Brigham, Judge.

Matthew J. Metz, Public Defender, and Jane C. Almy, Assistant
Public Defender, Daytona Beach, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Kristen L.
Davenport, Assistant Attorney General, Daytona Beach, for
Appellee.

                        August 27, 2024


PER CURIAM.

    AFFIRMED.

EISNAUGLE, SOUD, and PRATT, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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